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                         EXHIBIT F5
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USA Securities, LLC
Summary of MFIM's Billing Categories (April 13, 2006 - March 12, 2007)
            Category               SEC                                       Overview of Activities                                                        Benefits to the Estates

Cash Flow Model/Analyses       $    7,670.25 Prepared and monitored the cash flow and cash balances of Securities.                  Operated Securities throughout the case without additional financing.
                                                                                                                                    Disseminated Securities' financial position to various parties in
                                                                                                                                    interest.
Employment/Fee Applications         3,115.34 Prepared and reviewed monthly invoices and fee applications as required by the         Communicated MFIM's efforts in the cases to the Committees and
                                             bankruptcy code and the administrative order. Negotiated allocations to each Debtor. other parties. The delayed payment of MFIM's monthly statements
                                                                                                                                    provided sufficient cash flow to operate the businesses through the
                                                                                                                                    confirmation of the Plan.
Bankruptcy Schedules & SOFAs       13,872.00 Researched, located and analyzed financial information from USACM. Provided            Provided constituents with information about Securities including the
                                             information to BMC for the preparation of the Schedules of Assets and Liabilities.     list of assets available to pay the liabilities.
                                             Reviewed, edited and finalized Schedules and SOFA's produced by BMC.
Case Administration                14,124.50 Ensured the Debtors' cases progressed in a timely manner. Created an information       Facilitated the efficient management of the businesses and these
                                             call in number for parties in interest. Engaged a claims agent, BMC, and assisted with cases. Facilitated information provided in due diligence requests,
                                             the mailing matrix to ensure adequate notice. Drafted various press releases and       investor inquiries, Committee requests and the transition of
                                             other communications for parties in interest. Organized, indexed, and stored the       documents to post-effective date and post-closing entities.
                                             Debtors' records for use in their cases. Fulfilled numerous requests and held
                                             meetings with the US Trustee.
Monthly Operating Reports           4,805.00 Reviewed and edited Monthly Operating Reports for April 2006 through January 2007. Communicated the performance of the Debtor to the parties in
                                                                                                                                    interest.
Claims Analysis                     1,815.00 Researched and reconciled claims to the scheduled amounts, the books and records, Ensured only valid claims were paid from the Estate, resulting in a
                                             and the account numbers. Provided exhibits to counsel for objections to claims filed higher recovery on the remaining claims.
                                             against the Estate.
Gross Total                    $   45,402.09

Less Voluntary Reductions          (1,394.02) Related to Employment / Fee Application category

Net Total                      $   44,008.07




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